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  6   (Puerto Rico), HALLOWS MOVIE LLC (Louisiana), CROSSFACE LLC, LET IT
      PLAY LLC, ALEX A. GINZBURG, DONGKWAN “TONY” LEE
  7

  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10

 11
      BONDIT, LLC, a California limited            Case No.: 2:19-cv-09832-AB-RAO
 12   liability company,
 13          Plaintiff,                            DEFENDANTS’ NOTICE OF
                                                   MOTION & MOTION TO DISMISS
 14                        vs.                     PURSUANT TO RULE 12(b)(6) OF
                                                   THE FEDERAL RULES OF CIVIL
 15   HALLOWS MOVIE, INC., a Nova                  PROCEDURE
      Scotia corporation; HALLOWS
 16   MOVIE, LLC, a Puerto Rico limited
      liability company; HALLOWS
 17   MOVIE, LLC, a Louisiana limited
      liability company; UTOPIA FILM,              Date: March 6, 2020
 18   L.L.C., a Puerto Rico limited liability      Time: 10:00 am
      company; CROSSFACE LLC, a                    Place: Courtroom 7B
 19   Louisiana limited liability company;
      LET IT PLAY, LLC, a Connecticut
 20   limited liability company; ALEX A.           Judge: Hon. Andre Birotte
      GINZBURG, an individual;
 21   DONGKWAN “TONY” LEE, an
      individual; HYUN KIM, an individual;
 22   JORGE ALBERTO MARTINEZ-
      DAVILA, an individual,
 23
             Defendants.
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      _________________________________________________________________________________________________
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  1                     NOTICE OF MOTION & MOTION TO DISMISS
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  3   TO THE COURT AND TO ALL PARTIES AND TO THEIR ATTORNEYS OF
  4   RECORD:
  5          PLEASE TAKE NOTICE THAT on March 6, 2020, at 10:00 am in Courtroom
  6   7B of the above-entitled court, Defendants HALLOWS MOVIE INC., a Nova Scotia
  7   corporation, HALLOWS MOVIE, LLC, a Puerto Rico limited liability company,
  8   HALLOWS MOVIE LLC, a Louisiana limited liability company, CROSSFACE LLC,
  9   a Louisiana limited liability company, LET IT PLAY LLC, a Connecticut limited
 10   liability company, ALEX A. GINZBURG, an individual, and DONGKWAN “TONY”
 11   LEE, an individual, (collectively, “Defendants”), will move this Court pursuant to
 12   Federal Rules of Civil Procedure Rule 12(b)(6) to dismiss the following Claims for
 13   Relief contained in Plaintiff’s Complaint:
 14          1) First Claim for Relief: Violations of the Racketeer Influenced and
 15   Corrupt Organizations Act, 18 U.S.C. §1962(c):
 16          Defendants seek to dismiss Plaintiff’s First Claim for Relief           on the basis
 17   that the Complaint as written fails to allege sufficient facts that would support a cause
 18   of action for Violations of the Racketeer Influenced and Corrupt Organizations Act, 18
 19   U.S.C. §1962(c). The claim must be dismissed pursuant to Federal Rule of Civil
 20   Procedure 12(b)(6) for failure to state a claim upon which relief can be granted.
 21          2) Second Claim for Relief:           Conspiracy to Commit Violations of the
 22   Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1962(c):
 23          Defendants seek to dismiss Plaintiff’s Second Claim for Relief on the basis that
 24   the Complaint as written fails to allege sufficient facts that would support a cause of
 25   action for Conspiracy to Commit Violations of the Racketeer Influenced and Corrupt
 26   Organizations Act, 18 U.S.C. §1962(c). The claim must be dismissed pursuant to
 27   Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief
 28   can be granted.

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  1          3) Third Claim for Relief: Violation of California Penal Code §496:
  2          Defendants seek to dismiss Plaintiff’s Third Claim for Relief on the basis that
  3   the Complaint as written fails to allege sufficient facts that would support a cause of
  4   action for Violation of California Penal Code §496. The claim must be dismissed
  5   pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon
  6   which relief can be granted.
  7          4) Fifth Claim for Relief: Money Had and Received:
  8          Defendants seek to dismiss Plaintiff’s Fifth Claim for Relief on the basis that the
  9   Complaint as written fails to allege sufficient facts that would support a cause of action
 10   for Money Had and Received. The claim must be dismissed pursuant to Federal Rule
 11   of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be granted.
 12          5) Tenth Claim for Unfair Competition:
 13          Defendants seek to dismiss Plaintiff’s Tenth Claim for Relief on the basis that
 14   the Complaint as written fails to allege sufficient facts that would support a cause of
 15   action for Unfair Competition under California law. The claim must be dismissed
 16   pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon
 17   which relief can be granted.
 18          6) Eleventh Claim for Conversion:
 19          Defendants seek to dismiss Plaintiff’s Eleventh Claim for Relief on the basis that
 20   the Complaint as written fails to allege sufficient facts that would support a cause of
 21   action for Conversion. The claim must be dismissed pursuant to Federal Rule of Civil
 22   Procedure 12(b)(6) for failure to state a claim upon which relief can be granted.
 23          7) Twelfth Claim for Fraudulent Conveyance:
 24          Defendants seek to dismiss Plaintiff’s Twelfth Claim for Relief on the basis that
 25   the Complaint as written fails to allege sufficient facts that would support a cause of
 26   action for Fraudulent Conveyance. The claim must be dismissed pursuant to Federal
 27   Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be
 28   granted.

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  1   Compliance with Local Rule 7-3:
  2          Prior to filing the present motion, counsel for Defendants met and conferred with
  3   Plaintiff’s counsel at least 7 days prior to the filing of the motion and fully complied
  4   with Local Rule 7-3 of the Central District of California. For details concerning the
  5   meet and confer effort, please refer to the Declaration of Mehrshad Mirkhan filed
  6   concurrently herein.
  7          This motion will be made on the ground that the allegations in Plaintiff’s
  8   Complaint are insufficient to support the claims for relief outlined above and the above
  9   seven claims for relief must be dismissed pursuant to Federal Rule of Civil Procedure
 10   12(b)(6).
 11          This Motion is based on this Notice of Motion and Motion, the attached
 12   Memorandum of Points and Authorities, the declaration of Mehrshad Mirkhan and the
 13   Exhibits attached thereto which has been filed concurrently herein, on all pleadings and
 14   papers on file in this action, and on other such matters and arguments as may be
 15   presented to this Court in connection with this Motion.
 16

 17   Respectfully Submitted.
 18
      Dated:        January 17, 2020                    THE MIRKHAN LAW FIRM, APC
 19

 20                                                     /s/ Mehrshad Mirkhan
                                                 By:
 21                                                     Mehrshad Mirkhan
                                                        ATTORNEYS FOR DEFENDANTS
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  1         D.     PLAINTIFF’S THIRD CLAIM FOR RELIEF BASED ON A VIOLATION
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  1
                       MEMORANDUM OF POINTS & AUTHORITIES
  2
                                       I.     INTRODUCTION
  3

  4          In accordance with the Complaint filed by Plaintiff, this case concerns the
  5   financing of a feature-length motion picture entitled Crossface.               Complaint ¶1.
  6   Plaintiff contends that a $1.5 million loan was advanced by Plaintiff BondIt to
  7   Defendant Hallows Movie Inc., a Nova Scotia corporation (hereafter referred to as
  8   “HM-Canada”). Complaint ¶1. The loan was funded on October 6, 2017. Complaint
  9   ¶3. The BondIt loan was collateralized by (i) a Kentucky film tax credit, (ii) a corporate
 10   guarantee from Defendant LET IT PLAY LLC, a Connecticut limited liability
 11   company, ("Let It Play"), and (iii) personal guarantees from Defendant Ginzburg,
 12   Defendant DONGKWAN "TONY” LEE (“Lee”) and Defendant Kim. Plaintiff also
 13   admits that the BondIt loan was only a portion of the motion picture’s total budget of
 14   $7 million dollars. Complaint ¶3.
 15          Plaintiff then contends that Defendant HM-Canada defaulted with respect to
 16   repayment of the BondIt loan and also defaulted with respect to certain obligations that
 17   was promised under the loan contract. For example, it is alleged that HM-Canada
 18   never commenced the production of the motion picture and the motion picture was
 19   never made. Complaint ¶4. Plaintiff further alleges that in an effort to cure the default
 20   and address HM-Canada’s failure to observe its repayment obligations, Defendants
 21   Ginzburg and Lee proposed to pledge to Bondlt certain film tax credits on the motion
 22   pictures entitled Utopia and The Recovery aka Above. Complaint ¶5. Plaintiff then
 23   voluntarily accepted to amend its loan contract and received new guarantees pursuant
 24   to new security agreements with Defendants HALLOWS MOVIE, LLC, a Puerto Rico
 25   limited liability company (“HM-Puerto Rico”) and UTOPIA FILM L.L.C., a Puerto
 26   Rico limited liability company (“Utopia Film-Puerto Rico”). Plaintiff then proceeds
 27   to allege that it agreed to the amendment to the original loan terms based on numerous
 28   representations made by Defendants which turned out to be false. Complaint ¶¶7, 8.

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   1   Ultimately, the amended loan agreement was also defaulted and Defendants failed to
   2   cure the default despite Plaintiff’s repeated requests. Complaint ¶9.
   3          Despite the fact that the Complaint spends a total of 59 pages to provide a very
   4   detailed picture of Plaintiff’s version of facts, however the gravamen of the Complaint
   5   has been summarized in the above two paragraphs and concerns Defendants’ default
   6   with respect to the repayment of Plaintiff’s loan. Moreover, it is important to note that
   7   the multiple corporate entities that have been named as Defendants in this case were
   8   created solely for the production of different movies as is customary in the motion
   9   picture industry and as such cannot form an enterprise as is required for claims under
  10   the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1962(c). Thus,
  11   Plaintiff’s attempt to justify asserting fourteen Claims for Relief is misplaced and many
  12   of the Claims for Relief cannot withstand a Rule 12(b)(6) Motion to Dismiss. In
  13   particular, insufficient facts have been alleged to support the First, Second, Third, Fifth,
  14   Tenth, Eleventh, and Twelfth Claims for Relief. A close examination of the facts
  15   alleged shows that with respect to the above mentioned Claims for Relief, only
  16   conclusory facts have been alleged and the Complaint lacks specific facts that is needed
  17   to support the asserted claims.
  18          Similarly, Plaintiff’s attempt to turn this case into some sort of illegal and/or
  19   criminal activity on the part of Defendants must be stopped in its tracks. In particular,
  20   the allegations pertaining to the existence of an “enterprise” and “racketeering activity”
  21   are completely without merit. No facts have been alleged to support the existence of
  22   an enterprise or to show a pattern of racketeering activity. The remainder of this
  23   Memorandum will address the reasons why each of the Claims for Relief specified
  24   above cannot withstand a Rule 12(b)(6) Motion to dismiss.
  25   ///
  26   ///
  27   ///
  28   ///

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   1
                            II.     SUMMARY OF RELEVANT FACTS

   2
       A.     PLAINTIFF’S LOAN CONSTITUTED ONLY 21% OF THE MOTION
   3
       PICTURE’S FINANCING:
   4

   5          It is important to note that despite Plaintiff’s comprehensive allegations and
   6   accusations of fraud, allegations that Defendants’ shell game was unraveled, and the
   7   existence of an illegal enterprise, the BondIt loan constituted only 21% of the costs of
   8   the motion picture Crossface. This is based on Plaintiff’s own allegations which state
   9   that the total budget for the motion picture was $7 million dollars. See Complaint ¶3.
  10   B.     ALL      DEFENDANT            CORPORATE           AND       LIMITED        LIABILITY
  11   COMPANIES WERE CREATED FOR THE PRODUCTION OF MOTION
  12   PICTURES:
  13          Plaintiff’s Complaint is designed to portray an image of a group of independent
  14   corporate entities in addition to individuals that are working together as a common
  15   enterprise. This image is wrong and not supported by the facts. While the corporate
  16   entities are independent and have been created to afford the necessary protections of
  17   corporateness, they are not controlled by any third party. Indeed, Plaintiff’s own
  18   Complaint alleges that “Ginzburg and Lee were, and now are, the alter egos of HM­
  19   Canada, HM-Puerto Rico, HM-Louisiana, Crossface and Let it Play. Bondlt is further
  20   informed and believes, and based thereon alleges, that at all times relevant hereto, there
  21   is a unity of interest and ownership between Ginzburg and Lee, on the one hand, and
  22   HM-Canada, HM-Puerto Rico, HM-Louisiana, Crossface and Let it Play, on the other
  23   hand, such that any individuality and separateness between said Defendants have
  24   ceased.” See Complaint ¶61.
  25          Thus, by Plaintiff’s own allegations, we are dealing with two individuals and
  26   multiple corporate and/or limited liability company entities which have been created
  27   for the production of different motion pictures. This is not an organized group of
  28   corporate entities that is working in concert with individual Defendants. Instead, the

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   1   opposite is true and we are dealing with two individuals who have created these
   2   corporate entities for the purpose of producing different motion pictures under the
   3   protection afforded by corporations and limited liability companies.
   4

   5   C.     PLAINTIFF HAS FAILED TO SHOW THE EXISTENCE OF AN
   6   ENTERPRISE:
   7          There is nothing in the Complaint that shows the existence of a unified enterprise
   8   created to pursue a specific fraudulent purpose. The facts alleged in the Complaint
   9   simply states that 1) Defendants breached their obligations under the loan contract by
  10   failing to do the things promised under the contract, 2) Defendants misrepresented and
  11   concealed certain facts in order to induce Plaintiff to amend the original contract terms,
  12   3) Defendants were untruthful and were playing a shell game, and 4) Defendants
  13   refused to return Plaintiff’s money despite repeated requests to do so. Hence, there are
  14   no facts that show an enterprise created for the purpose of defrauding different lenders
  15   or for the purpose of fraudulently obtaining money from different sources. Instead,
  16   this is a single instance of an alleged breach of contract and misrepresentation that only
  17   concerns Plaintiff BondIt. Plaintiff is trying to portray the Defendants as professional
  18   fraudsters who are engaged in a pattern of fraudulent activity. But Plaintiff IS NOT
  19   alleging a single instance of fraudulent conduct directed toward others.
  20   D.     PLAINTIFF HAS FAILED TO SHOW A PATTERN OF RACKETEERING
  21   ACTIVITY:

  22          In addition to lack of any enterprise, the Complaint also lacks any facts that

  23   shows a pattern of racketeering activity. The entire Complaint pertains to 1) a single

  24   instance of a default in the repayment of Plaintiff’s initial loan, 2) Plaintiff’s voluntary

  25   amendments made to the terms of the initial loan, 3) alleged misrepresentation by

  26   Defendants to induce Plaintiff to make the voluntary amendment to the terms of the

  27   initial loan, and 4) non-payment of the loan. There is no pattern of any kind and all

  28   facts alleged pertain to a single interaction between Defendants and the Plaintiff

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   1   pertaining to the same loan. Thus, it is clear that Plaintiff has failed to show any pattern
   2   of racketeering activity.
   3
       E.     PLAINTIFF HAS FAILED TO SHOW THAT DEFENDANTS OBTAINED
   4
       MONEY BY THEFT:
   5

   6          The Complaint alleges in a very conclusory fashion that Defendants obtained
   7   money by theft and withheld that money from Plaintiff. See Complaint ¶83. However,
   8   no specific facts have been alleged to show that any theft took place. Merely because
   9   Plaintiff believes that any money obtained by Defendants should have been
  10   immediately turned over to Plaintiff, does not make Defendants’ conduct a “theft”.
  11   The gravamen of the Complaint which is based on the facts alleged, support breach of
  12   contract and misrepresentation causes of action. However, to claim that a theft took
  13   place, is a significant assertion which cannot be accepted unless specific facts are
  14   alleged that show a clear theft of money. No such facts have been alleged here.
  15          So long as Defendants came into possession of money in a legal manner, such
  16   possession cannot be termed as a “theft” solely because Plaintiff believes that it is
  17   entitled to such money. While it is convenient for the Plaintiff to label the withholding
  18   of any money that it believes should be turned over to Plaintiff as an act of “theft”, the
  19   facts alleged do no allow such legal conclusions to be drawn. The Complaint as written
  20   does not contain any facts that would support Plaintiff’s allegation of “theft”.
  21
                                       III. LEGAL ARGUMENT
  22

  23   A.     LEGAL STANDARD FOR A RULE 12(b)(6) MOTION TO DISMISS:
  24          A motion to dismiss under Rule 12 (b) (6) of the Federal Rules of Civil
  25   Procedure requires the Court to treat well-pleaded facts in Plaintiff’s Complaint as true.
  26   However, the Court need not accept as true “allegations that are merely conclusory,
  27   unwarranted deductions of fact, or unreasonable inferences.” Daniels-Hall v. National
  28   Education Association, 629 F.3d 992, 998 (9th Cir. 2010). The Court is also not “bound

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   1   to accept as true a legal conclusion couched as a factual allegation.” Papasan v. Allain,
   2   478 U.S. 256, 286 (1986). A complaint that relies upon “labels and conclusions, and a
   3   formulaic recitation of the elements of a cause of action does not suffice to state a cause
   4   of action.”    Bell Atlantic Corporation v. Twombly, 550 U.S. 554, 555 (2007).
   5   Furthermore, “actual allegations must be enough to raise a right to relief above the
   6   speculative level….” Id. In other words, a complaint must be “plausible on its face”
   7   which means that the plaintiff must plead “factual content that allows the court to draw
   8   the reasonable       inference that the defendant is liable for the misconduct alleged.”
   9   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). These principles modify the general
  10   rules of pleading as stated in Rule 8 (a)(2) of the Federal Rules of Civil Procedure
  11   which requires “a short and plain statement of the claim showing that the pleader is
  12   entitled to relief”; Federal Rules of Civil Procedure, Rule 8 (a)(2).
  13
       B.     PLAINTIFF’S FIRST CLAIM FOR RELIEF BASED ON VIOLATION OF
  14
       RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT DOES
  15
       NOT MEET THE REQUIREMENTS OF THE STATUTE AND MUST BE
  16
       DISMISSED PURSUANT TO RULE 12(b)(6):
  17

  18          The Racketeer Influenced and Corrupt Organizations Act (hereafter “RICO”)
  19   prohibits specific conduct which has been defined within the statute. The statute states
  20   in relevant part: “It shall be unlawful for any person employed by or associated with
  21   any enterprise engaged in, or the activities of which affect, interstate or foreign
  22   commerce, to conduct or participate, directly or indirectly, in the conduct of such
  23   enterprise’s affairs through a pattern of racketeering activity or collection of unlawful
  24   debt. 18 U.S.C. §1962(c).
  25          A violation of § 1962(c), requires (1) conduct (2) of an enterprise (3) through a
  26   pattern (4) of racketeering activity. The plaintiff must, of course, allege each of these
  27   elements to state a claim. Sedima, SP RL v. Imrex Co., 473 US 479, 496 (1985). "an
  28   enterprise includes any union or group of individuals associated in fact" and that RICO

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   1   reaches "a group of persons associated together for a common purpose of engaging in
   2   a course of conduct." Boyle v. US, 556 US 938, 946 (2009). The RICO statute was
   3   enacted as a way to combat organized crime. Thus, the RICO statute is directed against
   4   criminal and/or unlawful enterprises that use the interstate commerce for their benefit.
   5   In fact, the United States Supreme Court has held that “as a measure to deal with the
   6   infiltration of legitimate businesses by organized crime, RICO was both preventive and
   7   remedial. United States v. Turkette, 452 U.S. 576, 593 (1981). The enterprise
   8   contemplated by RICO "is proved by evidence of an ongoing organization, formal or
   9   informal, and by evidence that the various associates function as a continuing
  10   unit." Id., at 583. In order to present a successful RICO claim, Plaintiff must prove
  11   both the existence of an "enterprise" and the connected "pattern of racketeering
  12   activity." Id. at 583. The "enterprise" is not the "pattern of racketeering activity"; it is
  13   an entity separate and apart from the pattern of activity in which it engages. Id. at 583.
  14          A RICO claim based on mail and wire fraud must satisfy Federal Rule of Civil
  15   Procedure 9(b) by pleading with particularity the circumstances constituting fraud. See
  16   Lundy v. Catholic Health Sys. of Long Island Inc., 711 F.3d 106, 119 (2d Cir. 2013).
  17   In addition, facts must be alleged as to each individual defendant. DeFalco v. Bernas,
  18   244 F.3d 286, 306 (2d Cir. 2001). Finally, a RICO "enterprise" must be separate and
  19   distinct from the "person" conducting the racketeering activities of the enterprise.
  20   DeFalco, 244 F.3d at 307.
  21          When the above legal analysis is applied to Plaintiff’s Complaint, we
  22   immediately recognize that Plaintiff’s RICO claim cannot withstand a Rule 12(b)(6)
  23   motion to dismiss. An examination of paragraphs 67 and 68 of Plaintiff’s Complaint
  24   reveals that Plaintiff has failed to allege facts that show the existence of an “enterprise”
  25   that is engaged in a pattern of “racketeering activity”. Instead, Plaintiff has resorted to
  26   conclusory allegations that merely repeats the requirements of a RICO claim. For
  27   example, Plaintiff alleges: “Specifically, Defendants, and each of them, were, and are,
  28   a union or group that are associated in fact, constitute an ongoing organization, and

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   1   function as a continuing unit. This is due to their contractual and financial relationship,
   2   their common ownership, their common goal of inducing others to enter into
   3   investment, financing, and business transactions, and their continuing and substantial
   4   interaction and involvement as alleged herein.” Complaint ¶67. Plaintiff also alleges
   5   that “Enterprise engaged in, and its activities have an effect on, interstate and foreign
   6   commerce in connection with the Enterprise's business of enticing individuals and
   7   companies to enter into investment, financing, and business transactions with the
   8   Enterprise, based upon the Enterprise's false representations and other fraudulent
   9   conduct as set forth herein. Complaint ¶69. These are all conclusory allegations with
  10   NO SPECIFIC facts. While Plaintiff claims that the so called “enterprise” is in the
  11   business of enticing individuals and companies to enter into investment, financing, and
  12   business transaction, not a single specific allegation has been made to show that the
  13   purported enterprise is defrauding anyone. Perhaps Plaintiff is using its own experience
  14   with Defendants and its allegations of fraud with respect to Plaintiff’s own dealings
  15   with Defendants as the basis for alleging that Defendants are in the business of
  16   defrauding others. Moreover, there is absolutely no mention of the structure of the so
  17   called enterprise, the manner of its activities, and facts showing that the enterprise is
  18   engaged in any kind of organized racketeering activity.
  19          Plaintiff then alleges that Defendants have engaged in wire fraud. Complaint
  20   ¶71. But no pattern of racketeering activity is shown. Apparently, Plaintiff has
  21   summarized its own experience with Defendants as a “pattern of racketeering activity”.
  22   This is absolutely insufficient to show a “pattern of racketeering activity”.                By
  23   definition, a “pattern” requires more than one act and more than one instance of
  24   racketeering activity. Plaintiff alleges that Defendants have made telephone calls and
  25   sent and received e-mails and tries to satisfy the “pattern of racketeering activity” with
  26   these generalized and conclusory allegations. See Complaint ¶73. But all Plaintiff is
  27   describing pertains to its own experience with Defendants and its own case and
  28   Defendants’ alleged default of the BondIt Loan. This proves that Plaintiff’s so called

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   1   “pattern of racketeering activity” can be summarized in Defendants’ alleged failure to
   2   pay back the BondIt loan. In fact, if the alleged default had not occurred, then the
   3   “pattern of racketeering activity” would immediately disappear.
   4

   5   C.     PLAINTIFF’S SECOND CLAIM FOR RELIEF BASED ON CONSPIRACY
   6   TO VIOLATE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
   7   ACT DOES NOT MEET THE REQUIREMENTS OF THE STATUTE AND MUST
   8   BE DISMISSED PURSUANT TO RULE 12(b)(6):
   9
  10          RICO makes it unlawful to conspire to commit its prohibited activities. “It shall
  11   be unlawful for any person to conspire to violate any of the provisions of subsection
  12   (a), (b), or (c) of this section. 18 U.S.C. §1962(d). Conspiracy is not a cause of action,
  13   but a legal doctrine that imposes liability on persons who, although not actually
  14   committing a tort themselves, share with the immediate tortfeasors a common plan or
  15   design in its perpetration. By participation in a civil conspiracy, a coconspirator
  16   effectively adopts as his or her own the torts of other coconspirators within the ambit
  17   of the conspiracy. Applied Equipment Corp. v. Litton Saudi Arabia Ltd., 7 Cal.4th 503,
  18   510-511 (1994). Standing alone, a conspiracy does no harm and engenders no tort
  19   liability. It must be activated by the commission of an actual tort. "`A civil conspiracy,
  20   however atrocious, does not per se give rise to a cause of action unless a civil wrong
  21   has been committed resulting in damage. Id. at 511.
  22          Because plaintiff has failed to state a substantive RICO claim, plaintiff's RICO
  23   conspiracy claim necessarily fails. See First Capital Asset Mgmt. v. Satinwood, Inc.,
  24   385 F.3d 159, 182 (2d Cir. 2004).
  25   ///
  26   ///
  27   ///
  28   ///

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   1   D.     PLAINTIFF’S THIRD CLAIM FOR RELIEF BASED ON A VIOLATION OF
   2   CALIFORNIA PENAL CODE §496 MUST BE DISMISSED BECAUSE THERE IS
   3   NO THEFT UNDER THE FACTS ALLEGED:
   4

   5          California Penal Code §496 states in relevant part:
   6   “(a) Every person who buys or receives any property that has been stolen or that has
   7   been obtained in any manner constituting theft or extortion, knowing the property to be
   8   so stolen or obtained, or who conceals, sells, withholds, or aids in concealing, selling,
   9   or withholding any property from the owner, knowing the property to be so stolen or
  10   obtained, shall be punished by imprisonment in a county jail….” California Penal Code
  11   §496(a).
  12          Plaintiff alleges in a very conclusory fashion that Defendants obtained money
  13   belonging to BondIt by theft and knowingly concealed and withheld such money from
  14   BondIt. Complaint ¶83. Again, no specifics are provided. Plaintiff fails to allege how
  15   Defendants have obtained Plaintiff’s money by theft and even if Plaintiff alleges such
  16   a thing, it would be inconsistent with the rest of Plaintiff’s Complaint. Plaintiff’s
  17   Complaint clearly states that the BondIt loan was obtained pursuant to a loan
  18   agreement. Thus, there is absolutely no facts that would support Plaintiff’s conclusory
  19   allegation of theft.      Because no theft has been shown, Penal Code §496(a) is
  20   inapplicable here and the cause of action based on violation of Penal Code §496(a)
  21   must be dismissed in accordance with Federal Rule of Civil Procedure 12(b)(6).
  22
       E.     PLAINTIFF’S FIFTH CLAIM FOR MONEY HAD AND RECEIVED MUST
  23
       BE DISMISSED BECAUSE THE COMMON COUNT CONFLICTS WITH
  24
       PLANTIFF’S OTHER CAUSES OF ACTION:
  25

  26          The action for money had and received is based upon an implied promise which
  27   the law creates to restore money which the defendant in equity and good conscience
  28   should not retain. The law implies the promise from the receipt of the money to prevent

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   1   unjust enrichment. The measure of the liability is the amount received.’ Recovery is
   2   denied in such cases unless the defendant himself has actually received the money.”
   3   Rotea v. Izuel, 14 Cal.2d 605, 611 (1939).
   4          Since the basic premise for pleading a common count . . . is that the person is
   5   thereby ‘waiving the tort and suing in assumpsit,’ any tort damages are out. Likewise
   6   excluded are damages for a breach of an express contract. Zumbrun v. University of
   7   Southern California, 25 Cal.App.3d 1, 14-15 (1972). Here, Plaintiff is asserting both
   8   claims for relief based on the breach of the Loan contract and claims based on fraud
   9   and concealment and misrepresentation. Because Plaintiff has an extensive claim for
  10   breach of an express written contract in addition to multiple tort claims, the claim for
  11   Money had and Received is inconsistent with Plaintiff’s contract and tort claims. This
  12   inconsistency cannot withstand a Rule 12(b)(6) motion to dismiss because when there
  13   are allegations of an express contract and tort causes of action, then a cause of action
  14   for Money had and Received has no meaning and must be dismissed in accordance with
  15   the case law cited above.
  16
       F.     PLAINTIFF’S TENTH CLAIM FOR UNFAIR COMPETITION UNDER
  17
       CALIFORNIA LAW MUST BE DISMISSED BECAUSE THE FACTS ALLEGED
  18
       DO NOT SUPPORT AN UNFAIR COMPETITION CLAIM:
  19

  20          Plaintiff alleges that Defendants have committed unlawful, unfair, and
  21   fraudulent business practices in violation of the Unfair Competition Law (“UCL”). See
  22   Complaint ¶156. This hyperbolic rendition of the alleged facts amounts to little more
  23   than an attempt to repackage Plaintiff’s breach of contract, conversion and
  24   misrepresentation claims as one for unfair competition. An action under the UCL “is
  25   not an all-purpose substitute for a tort or contract action.” Korea Supply Co. v.
  26   Lockheed Martin Corp., 29 Cal. 4th 1134, 1150–51 (2003). Plaintiff cannot rely on his
  27   UCL as a substitute for his contract and tort claims.
  28

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   1          Business and Professions Code section 17200 prohibits any "unlawful, unfair or
   2   fraudulent business act or practice." Because the statute is written in the disjunctive, it
   3   prohibits three separate types of unfair competition: 1) unlawful acts or practices, 2)
   4   unfair acts or practices, and 3) fraudulent acts or practices. Cel-Tech Communications,
   5   Inc. v. Los Angeles Cellular Telephone Co. 20 Cal.4th 163, 180 (1999). The problem
   6   here is that there is no business act or practice. Plaintiff is simply referring to the event
   7   of “default” as a business act. Furthermore, Plaintiff’s voluntary decision to amend its
   8   loan terms cannot be classified as a “business” act. Plaintiff has failed to allege a claim
   9   under any of the three UCL prongs. As for the “unlawful” prong, Plaintiff does not
  10   allege which laws Defendants purportedly violated. See Ingels v. Westwood One
  11   Broad. Serv., Inc., 129 Cal. App. 4th 1050, 1060 (2005) (holding that if the complaint
  12   fails to state a violation of an underlying law, the claim on which it is premised must
  13   fail). It is clear that Plaintiff’s UCL claim is based on Plaintiff’s common law breach
  14   of contract, conversion, and misrepresentation causes of action, and it fails as a matter
  15   of law because common law violations cannot form the basis for a claim under the
  16   UCL’s “unlawful” prong. See Shroyer v. New Cingular Wireless Services, Inc., 622
  17   F.3d 1035, 1044 (9th Cir. 2010) (breach of contract claim insufficient to establish a
  18   violation of the unlawful prong under the UCL).
  19          With respect to the “unfair prong” of UCL, Plaintiff’s allegations are insufficient
  20   to satisfy this prong. First and foremost, as previously stated, Defendants’ conduct
  21   does not pertain to any “business act”. Plaintiff has failed to allege that Defendants
  22   violated any public policy that is “tethered to any specific constitutional, statutory, or
  23   regulatory provisions.”       Cel-Tech Communications, Inc. v. Los Angeles Cellular
  24   Telephone Co. 20 Cal.4th 163 (1999). Plaintiff’s complaint includes no facts that
  25   establish that Defendants’ conduct was “immoral, unethical, oppressive, unscrupulous
  26   or substantially injurious to consumers.” Drum v. San Fernando Valley Bar Assn., 182
  27   Cal. App. 4th 247 (2010).
  28

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   1          As to fraudulent acts and practices prong of UCL, Plaintiff’s Complaint fails
   2   again because Plaintiff is neither a “consumer” nor a “competitor” with Defendants.
   3   UCL’s purpose "is to protect both consumers and competitors by promoting fair
   4   competition in commercial markets for goods and services. Kwikset Corp. v. Superior
   5   Court, 51 Cal.4th 310 (2011). Thus, any fraudulent act alleged in Plaintiff’s Complaint
   6   cannot be redressed by using the UCL. The type of fraud envisioned by UCL is a fraud
   7   stemming from unfair competition or false advertising as specifically stated in the
   8   statute. To hold otherwise would allow all plaintiffs with fraud or misrepresentation
   9   claims to also have a UCL cause of action. A result which is not supported by
  10   California law and not supported by UCL’s statutory scheme.
  11

  12   G.     PLAINTIFF’S ELEVENTH CLAIM FOR CONVERSION MUST BE
  13   DISMISSED BECAUSE THE REQUIREMENTS FOR A CONVERSION CLAIM
  14   HAVE NOT BEEN MET:
  15          First, Plaintiff’s conversion claim fails because it is based solely on duties
  16   allegedly arising out of the loan Agreement. Plaintiff’s Fourth and Sixth Claims for
  17   Relief concern breach of written contract and breach of Amended written contract.
  18   Under California law, “the economic loss rule bars recovery in tort for economic
  19   damages arising out of matters governed by contract.” KB HOME v. Superior Court,
  20   112 Cal.App.4th 1076 (2003).            Plaintiff specifically alleges that: “Defendants
  21   converted the proceeds of the Bondlt Loan, the Alabama Tax Credit and the Puerto
  22   Rico Tax Credit because either they took and spent the proceeds of the Bondlt Loan,
  23   the Alabama Tax Credit and the Puerto Rico Tax Credit, or the proceeds were applied
  24   to other debts or obligations owed by Defendants, and each of them…” Complaint
  25   ¶162. These are the exact same allegations that form the basis of Plaintiff’s breach of
  26   contract causes of action.
  27          Second, Plaintiff’s conversion claim fails because the requirements for a
  28   conversion claim have not been met here. ‘To establish a conversion, plaintiff must

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   1   establish an actual interference with his ownership or right of possession . . .. Where
   2   plaintiff neither has title to the property alleged to have been converted, nor possession
   3   thereof, he cannot maintain an action for conversion.’ ” Moore v. Regents of the Univ.
   4   of Cal., 51 Cal.3d 120, 136 (1990). Here, Plaintiff’s right to ownership of BondIt Loan

   5
       proceeds and various Tax credits stems from the written contractual obligations and
       promises made by Defendants.           However, Plaintiff does not have an automatic
   6
       ownership interest either in the proceeds of the BondIt Loan or the various promised
   7
       Tax credits. Thus, Plaintiff’s correct cause of action is a cause of action for breach of
   8
       contract and NOT for conversion. In fact, it has been held that a mere contractual right
   9
       of payment, without more, will not suffice for a conversion claim. Plummer v.
  10
       Day/Eisenberg, LLP, 184 Cal. App. 4th 38, 45 (2010). Plaintiff claims that various
  11
       Tax credits were promised as collateral to secure the BondIt Loan. Whether these tax
  12
       credits actually existed or not or were promised to other parties does not turn them into
  13
       converted property. Instead, such facts serve as evidence of lack of due diligence by
  14   the Plaintiff when the loan was advanced. Based on these facts, Plaintiff’s Eleventh
  15   Claim for Conversion must be dismissed in accordance with Rule 12(b)(6) of the
  16   Federal Rules of Civil Procedure.
  17

  18   H.     PLAINTIFF’S TWELFTH CLAIM FOR FRAUDULENT CONVEYANCE
  19   MUST BE DISMISSED BECAUSE THE FACTS ALLEGED ARE INSUFFICIENT
  20   TO SUPPORT A FRAUDULENT CONVEYANCE CLAIM:
  21          Under the Uniform Voidable Transactions Act, a transfer made or obligation
  22   incurred by a debtor is voidable as to a creditor, whether the creditor’s claim arose
  23   before or after the transfer was made or the obligation was incurred, if the debtor made
  24   the transfer or incurred the obligation with actual intent to hinder, delay, or defraud a
  25   creditor. Civ. Code § 3439.04(a)(1). However, in order to state a valid cause of action
  26   under the Uniform Voidable Transactions Act, the plaintiff must identify the transfer
  27   in question and provide at least some facts concerning the transfer. A complaint that
  28   relies upon “labels and conclusions, and a formulaic recitation of the elements of a

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   1   cause of action does not suffice to state a cause of action.” Bell Atlantic Corporation
   2   v. Twombly, 550 U.S. 554, 555 (2007). Plaintiff alleges: “that Defendants, and each
   3   of them, transferred the proceeds of the Bondlt Loan, the Alabama Tax Credit and the
   4   Puerto Rico Tax Credit to other parties with an intent to hinder, delay or defraud their
   5   existing and future creditors, including Bondlt.” Complaint ¶168. There is no mention
   6   as to when this transfer took place, to whom was the transfer made, and the
   7   circumstances of the transfer. Merely stating that the transfer was made to “other
   8   parties” is too vague and ambiguous to withstand a Motion to Dismiss based on
   9   Twombly. Hence, the Complaint lacks the most basic facts necessary for a cause of
  10   action.
  11                                       IV. CONCLUSION
  12          This case presents a classic example of a breach of contract action and a loan
  13   that has allegedly defaulted. Unfortunately, Plaintiff has decided to turn the event of
  14   the alleged default into a hugely disproportionate case with allegations of violations of
  15   a RICO cause of action along with theft. However, there are no facts that would support
  16   such disproportionate blow up of the present case. Accordingly based on the arguments
  17   presented in this Memorandum, Plaintiff’s First, Second, Third, Fifth, Tenth, Eleventh,
  18   and Twelfth must be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil
  19   Procedure without leave to amend.
  20   Respectfully Submitted.
  21

  22
       Dated: January 17, 2020                    THE MIRKHAN LAW FIRM, APC
  23

  24                                                     /s/ Mehrshad Mirkhan
                                                  By:
  25                                                     Mehrshad Mirkhan
                                                         ATTORNEYS FOR DEFENDANTS
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  27

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